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                                 UNITED STATES       17 Filed 05/02/11
                                                  DISTRICT    COURT Page 1 of 2
                                   EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA
                                                           )
         v.                                                )   CR NO: 1:11-CR-00152 LJO
                                                           )
LEE TOUA XIONG, et al.

                                APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                     : Ad Prosequendum                             9 Ad Testificandum.
Name of Detainee:            LEE TOUA XIONG

Detained at (custodian):         Wasco State Prison-Wasco, California
Detainee is:   a.)   9 charged in this district by:
                            : Indictment                 9 Information              9 Complaint
Charging Detainee With:     18 U.S.C. Section 371, Conspiracy; 18 U.S.C. Section 1702, Obstruction of
Correspondence; 18 U.S.C. Section 1704, Possession of Counterfeit Postal Key; 18 U.S.C. Section 1704,
Possession of Postal Mail Locks; 18 U.S.C. Section 1708, Possession of Stolen Mail Matter (Two Counts)
         or    b.)      9 a witness not otherwise available by ordinary process of the Court
Detainee will: a.)      : return to the custody of detaining facility upon termination of proceedings
       or      b.)      9 be retained in federal custody until final disposition of federal charges, as a sentence is
                          currently being served at the detaining facility
Appearance is necessary forthwith in the Eastern District of California.
                                 Signature: /s/ Henry Z. Carbajal, III

                                 Printed Name & Phone No: Henry Z. Carbajal III, (559) 497-4028
                                 Attorney of Record for:  United States of America

                                         WRIT OF HABEAS CORPUS
                          : Ad Prosequendum                           9 Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, forthwith, and any further proceedings to
be had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named
custodian.
30 April 2011                                                                /s/ Dennis L. Beck
Date                                                                  United States District/Magistrate Judge
Please provide the following, if known:
 AKA(s) (if applicable):         Lee Toua Xiong                                        Male :      Female 9
 Booking or CDC #:               AG6935                                                DOB:        1988
 Facility Address:               701 Scofield Avenue                                   Race:       Asian
                                 Wasco, California 93280                               FBI #:      068944CC7
 Facility Phone:                 (661) 758-8400
 Currently Incarcerated For: Cal. Penal Code Sections 459, 460(b) and 496(a)
                                                  RETURN OF SERVICE

Executed on                by



Form Crim-48                                                                                             Revised 11/19/97
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Form Crim-48                                                                         Revised 11/19/97
